
PER CURIAM.
11 Denied. Even assuming relator’s underlying claim- satisfies the exception to the prescriptive period for claims based on facts “not known to the petitioner or his *598attorney,” La.C.Cr.P. art. 930.8(A)(1), relator fails to show that the district court erred when it dismissed the application based upon the state’s showing of prejudice to its ability to respond to the allegations caused by events not under its control which transpired since the date of conviction. La.C.Cr.P. art. 930.8(B).
Relator has now fully litigated two applications for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive ^application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
